                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MISSOURI
                             CENTRAL DIVISION

CAROLYN SUMMERS, et al.,                 )
                                         )
             Plaintiffs,                 )
                                         )
      v.                                 )       Case No. 2:18-cv-04044-MDH
                                         )
SECOND CHANCE HOMES                      )
OF FULTON, et al.,                       )
                                         )
             Defendants.                 )

                  JOINT STIPULATION OF DISMISSAL OF
           DEFENDANTS KAUFMANN, KEIPP, LOVE, ALLEN, AND LOVE

      COME NOW the parties, by and through undersigned counsel, and pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii), jointly stipulate to the dismissal with prejudice of

Defendants Julia Kaufmann, Tiffany Keipp, Robin Rees-Love, and Karen Digh Allen.

Each party to bear their own taxable court costs, expenses and attorney’s fees.



                                         Respectfully submitted,

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        Case 2:18-cv-04044-MDH Document 163 Filed 10/04/18 Page 1 of 3
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      Case 2:18-cv-04044-MDH Document 163 Filed 10/04/18 Page 2 of 3
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 4, 2018, the foregoing was filed

electronically with the Clerk of Court using the Court’s CM/ECF system, which will send

a Notice of Electronic Filing to all attorneys of record.




                                           ______________________________
                                           Gabriel E. Harris     MO66461




                                              3

        Case 2:18-cv-04044-MDH Document 163 Filed 10/04/18 Page 3 of 3
